           Case 1:24-cv-02984-RC       Document 1       Filed 10/21/24      Page 1 of 8


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD,                                  )
                                                )
BLOOMBERG L.P.,                                 )
731 Lexington Ave                               )
New York, NY 10022                              )
                                                )
        Plaintiffs,                             )
                                                )
v.                                              )
                                                )
U.S. DEPARTMENT OF HOMELAND                     )
SECURITY,                                       )
Office of the General Counsel                   )
2707 Martin Luther King Jr. Ave SE              )
Washington, D.C. 20528                          )
                                                )
        Defendant.                               )

                                           COMPLAINT

        1.     Plaintiffs JASON LEOPOLD and BLOOMBERG L.P. bring this suit to force

Defendant U.S. DEPARTMENT OF HOMELAND SECURITY to conduct a reasonable search,

issue a determination, and produce records regarding investigations conducted by its Inspector

General.

                                            PARTIES

        2.     Plaintiff JASON LEOPOLD is an investigative reporter at Bloomberg News and is

one of the FOIA requesters in this case.

        3.     Plaintiff BLOOMBERG L.P. is the owner and operator of Bloomberg News.

Bloomberg’s newsroom of more than 2,700 journalists and analysts delivers thousands of stories

a day, producing content that is featured across multiple platforms, including digital, TV, radio,

streaming video, print, and live events. BLOOMBERG L.P. is one of the FOIA requesters in this

case.
           Case 1:24-cv-02984-RC        Document 1        Filed 10/21/24     Page 2 of 8


          4.    Defendant U.S. DEPARTMENT OF HOMELAND SECURITY is a federal agency

and is subject to the Freedom of Information Act, 5 U.S.C. § 552.

                                 JURISDICTION AND VENUE

          5.    This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

          6.    Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                           JUNE 10, 2024 FOIA REQUEST TO DHS

          7.    On June 10, 2024, Plaintiffs submitted a FOIA request to DHS for the following

records:

                Copies of non-public final reports and audits of closed OIG
                investigations, which includes a copy of the report closing memo
                and referral letter, concerning substantiated misconduct.

                The timeframe for the first part of this request is January 1, 2023
                through the date the search for responsive records is conducted.

          8.    A true and correct copy of the original FOIA request is attached as Exhibit 1.

          9.    On June 11, 2024, DHS acknowledged receipt of the FOIA request and assigned

reference number 2024-IGFO-00107 to the matter.

          10.   A true and correct copy of the acknowledgement letter is attached as Exhibit 2.

          11.   On June 11, 2024, DHS asked Plaintiff to clarify the timeframe for the records

search.

          12.   On June 11, 2024, Plaintiff stated that the timeframe for the request was January 1,

2023 through June 11, 2024.

          13.   A true and correct copy of the communications is attached as Exhibit 3.

          14.   On October 16, 2024, Plaintiffs sought an estimated date of completion for the

request.

          15.   A true and correct copy of the correspondence is attached as Exhibit 4.

                                                -2-
           Case 1:24-cv-02984-RC          Document 1       Filed 10/21/24     Page 3 of 8


       16.     DHS did not send any further correspondence to Plaintiffs regarding this request.

       17.     As of the date of this filing, DHS has not issued a determination on Plaintiffs’

request.

       18.     As of the date of this filing, DHS has failed to make any responsive records

promptly available to Plaintiffs.

                             JUNE 11, 2024 FOIA REQUEST TO DHS

       19.     On June 11, 2024, Plaintiffs submitted a FOIA request to DHS for “A copy of the

final report of investigation referencing DHS senior official Robert Silvers and Israel or Israeli.”

       20.     A true and correct copy of the original FOIA request is attached as Exhibit 5.

       21.        On June 20, 2024, DHS acknowledged receipt of the FOIA request and assigned

reference number 2024-IGFO-00108 to the matter.

       22.        A true and correct copy of the acknowledgement letter is attached as Exhibit 6.

       23.     On October 16, 2024, Plaintiffs sought an estimated date of completion for the

request. Ex. 4.

       24.     DHS did not send any further correspondence to Plaintiffs regarding this request.

       25.     As of the date of this filing, DHS has not issued a determination on Plaintiffs’

request.

       26.     As of the date of this filing, DHS has failed to make any responsive records

promptly available to Plaintiffs.

                             JULY 17, 2024 FOIA REQUEST TO DHS

       27.     On July 17, 2024, Plaintiffs submitted a FOIA request to DHS for the following

records:

               Copies of non-public, final reports and audits of closed OIG
               investigations, which includes a copy of the report closing memo
               and referral letter, concerning investigations that were substantiated
               by the inspector general.

                                                 -3-
           Case 1:24-cv-02984-RC          Document 1       Filed 10/21/24     Page 4 of 8


               The timeframe for the first part of this request is January 1, 2024
               through the date the search for responsive records is conducted.

       28.     A true and correct copy of the original FOIA request is attached as Exhibit 7.

       29.        On July 23, 2024, DHS acknowledged receipt of the FOIA request and assigned

reference number 2024-IGFO-00131 to the matter.

       30.        A true and correct copy of the acknowledgement letter is attached as Exhibit 8.

       31.     On October 16, 2024, Plaintiffs sought an estimated date of completion for the

request. Ex. 4.

       32.     DHS did not send any further correspondence to Plaintiffs regarding this request.

       33.     As of the date of this filing, DHS has not issued a determination on Plaintiffs’

request.

       34.     As of the date of this filing, DHS has failed to make any responsive records

promptly available to Plaintiffs.

                           AUGUST 28, 2024 FOIA REQUEST TO DHS

       35.     On August 28, 2024, Plaintiffs submitted a FOIA request to DHS for the following

records:

               Copies of final unpublished/not publicly released OIG investigation
               documents (final report of investigation, final report, closing memo,
               referral letter, concerning misconduct, actual or alleged) referencing
               the Secret Service.

               The timeframe for this request is January 1, 2017 through the date
               the search for responsive records is conducted.

       36.     A true and correct copy of the original FOIA request is attached as Exhibit 9.

       37.        On September 6, 2024, DHS acknowledged receipt of the FOIA request and

assigned reference number 2024-IGFO-00151 to the matter.

       38.        A true and correct copy of the acknowledgement letter is attached as Exhibit 10.



                                                 -4-
           Case 1:24-cv-02984-RC       Document 1       Filed 10/21/24     Page 5 of 8


        39.    On October 16, 2024, Plaintiffs sought an estimated date of completion for the

request. Ex. 4.

        40.    DHS did not send any further correspondence to Plaintiffs regarding this request.

        41.    As of the date of this filing, DHS has not issued a determination on Plaintiffs’

request.

        42.    As of the date of this filing, DHS has failed to make any responsive records

promptly available to Plaintiffs.

                            COUNT I – DHS’S FOIA VIOLATION
                              JUNE 10, 2024 FOIA REQUEST

        43.    The above paragraphs are incorporated by reference.

        44.    Plaintiffs’ FOIA request seeks the disclosure of agency records and was properly

made.

        45.    Defendant DHS is a federal agency subject to FOIA.

        46.    Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        47.    Defendant DHS has failed to conduct a reasonable search for records responsive to

the request.

        48.    Defendant DHS has failed to issue a complete determination within the statutory

deadline.

        49.    Defendant DHS has failed to produce all non-exempt records responsive to the

request.




                                              -5-
           Case 1:24-cv-02984-RC       Document 1      Filed 10/21/24     Page 6 of 8


                          COUNT II – DHS’S FOIA VIOLATION
                            JUNE 11, 2024 FOIA REQUEST

        50.    The above paragraphs are incorporated by reference.

        51.    Plaintiffs’ FOIA request seeks the disclosure of agency records and was properly

made.

        52.    Defendant DHS is a federal agency subject to FOIA.

        53.    Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        54.    Defendant DHS has failed to conduct a reasonable search for records responsive to

the request.

        55.    Defendant DHS has failed to issue a complete determination within the statutory

deadline.

        56.    Defendant DHS has failed to produce all non-exempt records responsive to the

request.

                          COUNT III – DHS’S FOIA VIOLATION
                            JULY 17, 2024 FOIA REQUEST

        57.    The above paragraphs are incorporated by reference.

        58.    Plaintiffs’ FOIA request seeks the disclosure of agency records and was properly

made.

        59.    Defendant DHS is a federal agency subject to FOIA.

        60.    Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        61.    Defendant DHS has failed to conduct a reasonable search for records responsive to

the request.




                                              -6-
             Case 1:24-cv-02984-RC       Document 1        Filed 10/21/24   Page 7 of 8


        62.      Defendant DHS has failed to issue a complete determination within the statutory

deadline.

        63.      Defendant DHS has failed to produce all non-exempt records responsive to the

request.

                            COUNT IV – DHS’S FOIA VIOLATION
                             AUGUST 28, 2024 FOIA REQUEST

        64.      The above paragraphs are incorporated by reference.

        65.      Plaintiffs’ FOIA request seeks the disclosure of agency records and was properly

made.

        66.      Defendant DHS is a federal agency subject to FOIA.

        67.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        68.      Defendant DHS has failed to conduct a reasonable search for records responsive to

the request.

        69.      Defendant DHS has failed to issue a complete determination within the statutory

deadline.

        70.      Defendant DHS has failed to produce all non-exempt records responsive to the

request.


WHEREFORE, Plaintiffs ask the Court to:

        i.       declare that Defendant has violated FOIA;

        ii.      order Defendant to conduct a reasonable search for records and to produce the
                 requested records promptly;

        iii.     enjoin Defendant from withholding non-exempt public records under FOIA;

        iv.      award Plaintiffs attorneys’ fees and costs; and

        v.       award such other relief the Court considers appropriate.

                                                 -7-
        Case 1:24-cv-02984-RC   Document 1     Filed 10/21/24     Page 8 of 8



Dated: October 21, 2024




                                           RESPECTFULLY SUBMITTED,

                                           /s/ Matthew V. Topic

                                           Attorneys for Plaintiffs
                                           JASON LEOPOLD,
                                           BLOOMBERG L.P.


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                                     -8-
